
913 N.E.2d 1066 (2009)
In re DONALD S., etc.
(People State of Illinois, respondent,
v.
Donald S., petitioner).
No. 107450.
Supreme Court of Illinois.
September 30, 2009.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Fourth District, is directed to vacate its order in In re Donald S., case No. 4-07-0973 (09/02/08), and reconsider the matter in light of this Court's decision in In re Alfred H.H., 233 Ill.2d 345, 331 Ill.Dec. 1, 910 N.E.2d 74 (2009), to determine whether a different result is warranted.
